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EXH|B|T A

Case 1:19-cv-01245-SEB-TAB Document 1-1 Filed 03/27/19 Page 2 of 17 Page|D #: 6

41 D04_1903_P[__000032 Filed:3l9/20191:35 PM
C| k
Johnson Superior Court 4 Johnson County, lndiaeria
STATE OF INDIANA ) IN THE JOHNSON SUPERIOR COURT
) ss: ROOM
COUNTY OF JOHNSON ) CAUSE NO.
NIKOLE GREEN, )
)
Plaintiff, )
)
v. )
)
ASPEN DENTAL MANAGEMENT, )
INC., d/b/a ASPEN DENTAL, )
)
Defendant. )
COMPLAINT

I. INTRODUCTION

PlaintiffNikole Green sues her former employer, Aspen Dental Management, lnc., for unpaid
overtime under the F air Labor Standards Act ("FLSA"), 29 U.S.C.A. § 206, and for unpaid Wages
under the Indiana Wage Payment Act ("IWPA"), lnd. Code 22-2-5-1, et seq.

II. PARTIES, JURISDICTION AND VENUE

l. Plaintiff Nikole Green ("Green") is a resident of Indianapolis, in Marion County,
lndiana, and all times relevant to this Complaint, Was employed by the Defendant and Worked in the
Defendant’s offices in Johnson County, in lndiana.

2. At all times relevant to this action, Green has been an employee of ADMI, as that
term is defined in the FLSA, and in the IWPA,

3. At all times relevant, Green was engaged in commerce or in the production of goods
for commerce as required by 29 U.S.C. §§ 206-207.

4. Defendant Aspen Dental Management, lnc. ("ADMI"), is a foreign, for-profit

corporation, headquartered in East Syracuse, NeW York, and at all times relevant to this Complaint,

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conducted business at its offices in Johnson County, in lndiana.

5 . At all times relevant to this action, ADMI has been an employer, as that term is
defined in the FLSA, and the IWPA.

6. Additionally, at all times relevant to this action, ADMI has been an "enterprise
engaged in commerce or the production of goods for commerce" within the meaning of section
3(s)(l) of the FLSA, because ADMI has had employees engaged in commerce or in the production
of goods for commerce, or employees handling, selling, or otherwise working on goods or materials

that have moved in or were produced for commerce by any person.

7. ADMI has had and has a gross volume of sales made or business done of not less than
$500,000.00.

8. The Court has jurisdiction over this matter pursuant to 29 U.S.C. § 216(b).

9. All of the events and circumstances giving rise to this action occurred within the

geographical boundaries of Johnson County, Indiana, and therefore venue is proper in this court.
III. FACTUAL ALLEGATIONS

l(). Green was employed by ADMI as an office manager, primarily in ADl\/ll's Johnson
County, lndiana officefrom February 201 l until August 20l7.

ll. ADMI issued Green's paychecks, directed Green's work, and benefitted from work
performed that it suffered or permitted Green to perform.

12. ADMI had a policy, pattern or practice requiring Green regularly to work in excess
of 40 hours per workweek without being paid overtime wages.

13. Green's primary duties included, but were not limited to:

a. customer service;

b. operations duties;

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c. selling services and financing plans;
d. answering phones; and
e. clerical and data entry duties.
14. Green's duties did not include:
a. hiring;
b. firing;
c. setting rates of pay;
d. scheduling; or

e. disciplining other employees

15. Green's duties did not differ substantially from the duties of non~exempt hourly paid
employees
16. Green did not exercise a meaningful degree of independent discretion with respect

to the exercise of her duties.

l7. Green's primary duties were customer service and sales related Customer service and
sales occupied the majority of Green's working hours.

18. ADMI had a centralized, company-wide policy, pattern, and practice, that classified
Green, and all other office managers, as exempt from coverage of the overtime provisions of the
FLSA and applicable state laws.

l9. At the time of her voluntary separation from ADMI, in August 2017, was paid a
weekly salary of $796.23.

2(). Based on a 40-hour week, Green's hourly pay rate was $19.90.

21. Green was not paid overtime when she worked more than 40 hours per week.

22. Had Green been paid overtime, she should have been paid an overtime rate of $29.86

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per hour.

23. Green worked an average of 10 hours of overtime per week throughout her
employment by ADMI.

24. Green is owed unpaid overtime in the amount of $298.60 for every covered week she
worked for ADMI.

IV. LEGAL ALLEGATIONS
Count One: Violation of the Fair Labor Standards Act

25. Green incorporates the allegations in paragraphs one (l) though twenty-four (24) as
though they were fully incorporated here.

26. No employer shall employ any non-exempt employee who is employed in an
enterprise engaged in commerce, for a workweek longer than forty hours unless such employee is
paid not less than one and one-half times the regular rate at which he is employed 29 U.S.C.A. §
207.

27. During her employment by ADMI, Green worked a total of l0 hours per week in
excess of 40 hours per week.

28. Green was not provided any compensation for those hours beyond her regular salary.

29. ADMI's failure to pay the required overtime constitutes a violation of the FLSA, and
ADMI is liable to Green for unpaid overtime in the amount of $298.60 for every covered week.

30. ADl\/ll is also liable to Green for liquidated damages in the amount of $298.60 for
every covered week.

3 l. ADMl's violations of the FLSA were intentional, willful, and or taken with reckless
disregard for Green's rights, and therefore ADMI acted in bad faith.

32. Because ADMI's violation of the FLSA were willful, a three-year statute of

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limitations applies, pursuant to 29 U.S.C. § 255.

33. Green is covered for all weeks within three years of the date of this filing

34. The period from March ll, 2016, through August 31, 2017, the date of Green's
separation from ADMl's employment, is 76 weeks.

35. ADMI is liable to Green for unpaid overtime and liquidated damages in the amount
of $45,387.20.

Count TWo: Violation of the IWPA

36. Green incorporates the allegations in paragraphs one (l) though thirty-five (35) as
though they were fully incorporated here.

37. An employer shall pay every employee at least biweekly, and pay all wages earned
to a date not more than ten (10) business days prior to the date of payment. lnd. Code 22-2-5-1.

38. By failing to pay overtime at the time it was earned, ADMI failed to pay Green "all
wages earned" in violation of the IWPA.

39. Green can seek wages going back two years prior to the date of filing under the
IWPA.

40. The period from March ll, 2017, through August 31, 2017, the date of Green's
separation from ADMI, is 24 weeks.

4l. Green is owed $298.60 for each week from March ll, 2017, through August 3l,
2017.

42. lf an employer, not acting in good faith, violates the IWPA, the court shall order, as
liquidated damages, payment of an amount equal to two (2) times the amount of wages due the
employee. lnd. Code 22-2-5-2.

43. ADMl's failure to pay was iiitentional, willful, and/or was done with reckless

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disregard to Green's rights, and therefore, ADl\/ll acted in bad faith.

44. Green is owed $21,499.20 in unpaid overtime and liquidated damages

45. After offsetting the overtime and liquidated damages due as a result of ADMl's
violation of the FLSA, ADl\/ll still owes Green additional liquidated damages in the amount of
$7,166.40, for its bad faith violation of the IWPA.

V. RELIEF REQUESTED

WHEREFORE, PlaintiffNikole Green, by counsel, respectfully requests the Court to enter
judgment in her favor on all claims, and to order the following relief:

46. Order ADMI to pay Green the sum of $22,693.60 in unpaid overtime;

47. Order ADMI to pay Green the additional sum of $22,693.60 in liquidated damages
pursuant to the FLSA;

48. Grder ADl\/Il to pay Green the additional sum of $7,166.40 in liquidated damages
pursuant to the IWPA;

49. Order ADl\/ll to pay Green pre- and post-judgment interest on all sums awarded;

50. Order ADMI to pay Green's reasonable attorney fees and costs of litigation; and

5 l. Provide Green with any and all other just and proper relief.

Respectfully submitted,

s/ Jay Meisenhelder
J ay Meisenhelder, Atty. No. 19996-49

JAY MEISENHELDER EMPLOYMENT

& CrviL RIGHTS LEGAL SERVICES, P.C.
650 North Girls School Road, Suite B20
lndianapolis, IN 46214

Office Telephone: 317/231-5193
Direct Telephone: 317/899-9920
Facsimile Number: 317/982-5463

Email Address: jaym@ecrls.com

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STATE OF INDIANA )
) ss:
COUNTY OF JOHNSON )
NIK()LE GREEN,
Plaintiff,
v.

ASPEN DENTAL MANAGEMENT,
INC., d/b/a ASPEN DENTAL,

Defendant.

\./V\/\./\./V\_/V\-/\'/

Filed: 3/11/201910:04 AM
Clerk
Johnson County, lndiana

IN THE JOHNSON SUPERIOR COURT
ROOM FOUR
CAUSE NO. 41D04-1903-PL-000032

APPEARANCE BY ATTORNEY IN CIVIL CASE

l. The party on whose behalf this form is being filed is: lnitiating/Plaintiff.

2. The undersigned attorney and all attorneys listed on this form now appear in this case for
the following parties: Plaintiff Nikole Green

3. Attorney lnforrnation;

J ay l\/leisenhelder, Atty. No. 19996-49

JAY MEISENHELDER El\/[PLOYMENT

& CiviL RiGHrs LEGAL SERviCEs, P.C.
650 North Girls School Road, Suite B20

lndianapolis, IN 46214

Office Telephone: 317/231-5193

Direct Telephone: 317/899-9220

Facsimile Number: 317/982-5463

Email Address: ja@i@ecrls.com
4. This is a PL case type as defined in administrative Rule 8(}3)(3).
5. l will accept service from other parties by: Email at the above noted address

Jay Meisenhelder
Attorney-at-Law

(Attorney Information Above)

Case 1:19-cv-01245-SEB-TAB Document 1-1 Filed 03/27/19 Page 9 of 17 Page|D #: 13
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C|erk
J h C , l d`
sTATE oF INDIANA ) IN THE JoHNsoN sUPERIoR CoUR°T"S°n °u"ty " 'a“a
) ss= RooM FoUR
correr oF JoHNsoN ) CAUSE No. 41D04-i903-PL-000032
NrKoLE GREEN, )
)
Plaintiff, )
)
v. )
)
ASPEN DENTAL MANAGEMENT, INC., )
d/b/a ASPEN DENTAL, )
)
Defendant. )

SUMMONS

TO DEFENDANT: Aspen Dental Management, Inc.
e/o CORPORATION SERVICE COMPANY
135 North Pennsylvania Street, Suite 1610
indianapolis, IN, 46204

You are hereby notified that you have been sued by the person named as plaintiff and in the Court indicated
above.

The nature of the suit against you is stated in the complaint Which is attached to this Summons. lt also states
the relief sought or the demand made against you by the plaintiff

An answer or other appropriate response in Writing to the complaint must be filed either by you or your attorney
within twenty (20) days, commencing the day after you receive this Surnrnons, (or twenty-three (23) days if this Summons

was received by mail), or a judgment by default may be rendered against you for the relief demanded by plaintiff

lf you have a claim for relief against the plaintiff arising from the same transaction or occurrence, you must
assert it in your written answer.

If you need the name of an attomey, you may contact the lndianapolis Bar Association Lawyer Referral Service
(317/269-2222) or the Putnam County Bar Association.

3/14/2019 C:"- ‘
D t‘d '“”'“ it § m § §§ ap l Q;i §§§<§3 _ (Seal)
a c Clerk, Court \ L‘nl\

 

 

(The following manner of service of summons is hereby designated.) A`,:;¢;Oi¢! 50 UW?‘;,`§¢\
/ ‘s
a,:"' '\z\ {;) "<,\
X Registered or certified mail. ‘.-" § C€_G_;"i,
Service at place of employment, to-wit: l mi
Service on individual - (personal) at above address. 5 EA|_ i

Service on agent. (Speeify) l
Other Service. (Specif`y) `

 

 

Attorney for Plaintiff: J ay Mcisenhelder (19996-49)
JAY MElSENHELDER EMPLOYMENT
& CivlL Rioiirs LEGAL SERvicEs, P.C.
650 North Girls School Road, Suite 320
Indianapolis, IN 46214

 

Office Telephone: 317/231-5193
Direct Telcphone: 317/899-9220
Facsimile Number: 317/982-5463

Email Address: '1ayni(ci)eex'is.coin

Case 1:19-cv-01245-SEB-TAB Document 1-1 Filed 03/27/19 Page 10 of 17 Page|D #: 14

SHERIFF’S RETURN ON SERVICE OF SUMMUNS

I hereby certify that l have served this summons on the day , 2019:

 

(1) By delivering a copy of the Summons and a copy ofthe complaint to:

 

(2) By leaving a copy of the Summons and a copy of the complaint at:

 

 

 

 

 

 

 

, which is
the usual address of , and by mailing a copy of the Summons to:
at the
above address
(3) Other Service or Remarks:
Sheriff of County
Sheriffs Costs
By:
Deputy
CLERK'S CERTIFICA TE OF MAILING
l hereby certify that on the day of , 2019, I mailed a copy of this summons and
a copy of the complaint to the registered agent for defendant, , by Certified

 

Mail, Return Receipt Requested, at the address furnished by the plaintiff

 

 

Dated:
County Clerk
By:
Deputy
RETURN UN SER WCE OF SUMMONS BYMAIL
l hereby certify that the attached return receipt was received by me showing that:
(l) The Summons and a copy of the complaint mailed to the registered agent for defendant,
, was accepted by the registered agent for defendant on
(2) The attached return receipt was received by me showing that the Summons and a copy of the
complaint mailed to the registered agent for defendant, , Was accepted
by on behalf of said registered agent for defendant on

(3) The attached return receipt was received by me showing that the Summons and a copy of the complaint
was return not accepted on

 

 

Co unty Clerk

By:

 

Dep uty

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Filed: 3/25/2019 4:54 PM
Clerk
Johnson County, lndiana

STATE OF INDIANA ) IN THE JOHNSON SUPERIOR CGURT ROGM 4
) SS:
COUNTY OF JOHNSON ) CAUSE NO. 41D04-1903-PL-000032
NIKOLE GREEN,
Plaintiff,

V.

ASPEN DENTAL MANAGEMENT,
Inc., d/b/a ASPEN DENTAL,

VVV\/v\/\JV\/\/

Defendant.

APPEARANCE BY ATTORNEY IN CIVIL CASE

This Appearance Form must be filed on behalf of every party in a civil case.

l. The party on whose behalf this form is being filed is:
Initiating Responding X lntervening ; and

the undersigned attorney and all attorneys listed on this form now appear in this case for
the following parties:

Name of party Aspen Dental l\/lanagement, Inc., d/b/a Aspen Dental

Address of party (see Quest'ion # 6 below if this case involves a protection from abuse
order, a workplace violence restraining order, or a no-contact order)

 

 

Telephone # of party

 

FAX:

 

Email Address:

 

(Lisl on a continuation page additional parties this attorney represents in this case.)

2. Attorney information for service as required by Trial Rule 5(B)(2)

Name: Alan L, McLaughlin Atty Number: 10182-49
Bianca V. Black Atty Number: 33701-53

Case 1:19-cv-01245-SEB-TAB Document1-1 Filed 03/27/19 Page 12 of 17 Page|D #: 16

 

 

 

 

Address: LITTLER MENDELSON, P.C.
l ll l\/lonument Circle, Suite 702, lndianapolis, IN 46204
Phone: (317) 287.3600
FAX: (317) 63630712
Email Address: arnelzuighlin/"a`tlittler.eoin; bblack@littler.com

 

(List on continuation page additional attorneys appearing for above parly)
3. This is a case type as defined in administrative Rule 8(B)(3).

4. l will accept service from other parties by:

FAX at the above noted number: Yes No X

 

Email at the above noted number: Yes X No

5. This case involves child support issues. Yes No X (lfyes, supply social
security numbers for all family members on a separately attached document filed as
confidential information on light green paper. Use Form TCM-TR3.l-4.)

6. This case involves a protection from abuse order, a workplace violence restraining order,
or a no ~ contact order. Yes _ No X (If Yes, the initiating party must provide an
address for the purpose of legal service but that address should not be one that exposes
the whereabouts of a petitioner ) The party shall use the following address for purposes
of legal service:

Attorney’s address

The Attorney General Confidentiality program address

(contact the Attorney General at 1-800-321-1907 or e-mail address is
confidential@atg.in.gov).

Another address (provide)

 

7. This case involves a petition for involuntary commitment Yes No X

 

8. lf Yes above, provide the following regarding the individual subject to the petition for
involuntary eommitment:

a. Name of the individual subject to the petition for involuntary commitment if it is not
already provided in #l above:

 

b. State of Residence of person subject to petition:

Case 1:19-cv-01245-SEB-TAB Document 1-1 Filed 03/27/19 Page 13 of 17 Page|D #: 17

c. At least one of the following pieces of identifying information:
(i) Date of Birth

(ii) Driver’s License Number

 

State where issued Expiration date

(iii) State ID number

 

State where issued Expiration date
(iv) FBI number

(v) lndiana Department of Corrections Number

 

 

(vi) Social Security Number is available and is being provided in an attached
confidential document Yes No

9. There are related cases: Yes No _X (Ifyes, list on continuation page.)

10. Additional information required by local rule:

 

l l. There are other party members: Yes No X (Ifyes, list on continuation page.)

12. This form has been served on all other parties and Certificate of Service is attached:

 

 

Yes X No__
Respectfully submitted,
/s /Alan L. McLaughlin
Alan L. McLaughlin (#10182-49)
/s /Bianca V. Black
Bianca V. Black (#33701-53)
LITTLER MENDELSON, P.C. ATTORNEY FOR DEFENDANT
l ll Monument Circle, Suite 702 ASPEN DENTAL MANAGEMENT, INC., d/b/a
lndianapolis, lN 46204 ASPEN DENTAL

Telephone: 317.287.360()
Facsimile: 317.636.0712
bblack@littler.com

 

Case 1:19-cv-01245-SEB-TAB Document 1-1 Filed 03/27/19 Page 14 of 17 Page|D #: 18

CERTIFICATE OF SERVICE

l hereby certify that a copy of the foregoing Appearance by Attorney in Civil Case was
served via the Court’s electronic filing system, this 25th day of l\/Iarch 2019:

J ay Mcisenhelder

JAY MEISENHELDER El\/[PLOYMENT

& CIVIL RlGHTS LEGAL SERVICES, P.C.
650 North Girls School Road, Suite B20
lndianapolis, lN 46214

Email Address: jaym@ecrls.com

/s /Bianca V. Black
Bianca V. Black

FIRMWIDE:163286267 . l 058441 . 1158

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from the court maintaining a particular record.

Nikole Green v. Aspen Dental Management, Inc.

Case Number 41 DO4-1903-PL-000032
Court johnson Superior Court 4
Type PL - Civi| P|enary

Filed 03/09/2019

Status 03/09/2019 , Pending (active)

Parties to the Case
Detendant Aspen Denta| l\/Ianagement, |nc.

Attorney
Alan l_ I\/chaughlin
#1078249, Lead, Reta/'ned

111 l\/|onument C|R
STE 702

lndianapo|is, ||\l 46204
317-287-3600(V\/)

Attorney_
Bianca V. Black
#3370753, Reta/'neo'

211 N. Pennsy|\/anla St.
indianapolis |N 46204
(21 9) 781 -3714(VV)

P|aintiff Green, Niko|e

Attorney
lay Meisenhe|der
#19996-49, Reta/`neo’

 

650 North Gi|rs School Rd.
Suite D 40

|ndianapo|is, |N 46214
317-231-5193(W)

Chronological Case Summary
03/09/2019 Case Opened as a New Fi|ing

os/i 1/2019 Comp|aint/Equivalent Pleading Filed

Comp|aint
Filed By: Green, Nikole
Fi|e Stamp: 03/09/2019

https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2|jp7|kNth\/UbZt|bi|S|k1tVXhNVE|5T1RF|\/|01qTXdPak0yTURV|\/|E1EVXpNMk091n19 1/3

3/27/201@&8€ 1219-CV-01245-SEB-TAB DOCUm€n'[ 1-1SuEHiQii;i-G@b2?e/19

03/11/2019

03/14/2019

03/26/2019

Appearance Filed
Appearance~Filed-il\/|

For Party: Green, Nil<ole
File Starnp: 03/11/2019

Subpoena/Summons Filed

Surnmons
Filed By: Green, Nikole
Fi|e Starnp: 03/14/2019

Appearance Filed
Appearance by Attorney in Civil Case -A|an L. |\/chaugh|in; Bianca V. Black

For Party: Aspen Dental l\/|anagement, |nc.
Fi|e Stamp: 03/25/2019

Financial Information
* Financial Ba|ances reflected are current representations of transactions processed by the Clerk’s Office. Please note that any

Page 16 of 17 Page|D #: 20

balance due does not reflect interest that has accrued - if applicable - since the last payment For questions/concerns regarding
balances shown, please contact the Clerk's Office.

Green, Nikole

P|alntlff

Ba|ance Due las of03/27/2019)

 

 

 

 

 

 

 

 

0.00
Charge Surnrnary
Description Amount Credit Payment
Court Costs and Filing Fees 157.00 0.00 157.00
Transaction Summary
Date Description Amount
03/11/2019 Transaction Assessrnent 157.00
03/11/2019 Electronic Payrnent (157.00)

 

 

 

 

 

This is not the official court record. Official records of court proceedings may only be obtained directly
from the court maintaining a particular record.

https://public.courts.in.gov/mycase/#/vW/CaseSummary/eyJZ|jp7|th02VUb2ilbi|6lk1iVXhNVE|5T1RFl\/|01qTXdPakOyTURVl\/lE1EVXle\/|k09|n19

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https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJlep7lkNthVUb2t|bi|6|k1tVXhN\/EIST1RFI\/lO1qTXdPak0yTURVl\/|E1EVXle\/lk09|n19 3/3

